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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                                                                             FILED
                           MISSOULA DIVISION                                  APR 0 6 2016
                                                                           Clerk, Us o · .
                                                                             District Of ~trict Court
 UNITED STATES OF AMERICA,                             CR 16-1-M-DLC              ••· •vrontana
                                                                                  •vr1ssou1a


                      Plaintiff,
                                                      FINDINGS AND
        vs.                                         RECOMMENDATION
                                                    CONCERNING PLEA
 KELLY LOUISE NICHOLLS,

                      Defendant.



      The Defendant, by consent, has appeared before me under Fed. R. Crim. P.

11 and has entered a plea of guilty to one count of passing counterfeit obligations

of the United States in violation of 18 U.S.C. § 472 as set forth in Count II of the

Indictment. Defendant further admitted to the allegation of forfeiture. In

exchange for Defendant's plea, the United States has agreed to dismiss Counts I

and III of the Indictment.

      After examining the Defendant under oath, I have made the following

determinations:

      1. That the Defendant is fully competent and capable of entering an

informed and voluntary plea to the criminal offense charged against her, and an

informed and voluntary admission to the allegation of forfeiture;


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       2. That the Defendant is aware of the nature of the charge against her and

the consequences of pleading guilty to the charge;

       3. That the Defendant understands the allegation of forfeiture and the

consequences of admitting to the allegation;

       4. That the Defendant fully understands her constitutional rights, and the

extent to which she is waiving those rights by pleading guilty to the criminal

offense charged against her, and admitting to the allegation of forfeiture;

       5. That both her plea of guilty to the criminal offense charged against her

and her admission to the allegation of forfeiture are knowingly and voluntarily

entered, and are both supported by independent factual grounds sufficient to prove

each of the essential elements of the criminal offense charged and the legal basis

for the forfeiture.

       The Court further concludes that the Defendant had adequate time to review

the Plea Agreement with counsel, that she fully understands each and every

provision of the agreement and that all of the statements in the Plea Agreement are

true. Therefore, I recommend that the Defendant be adjudged guilty Count II of

the Indictment, and that sentence be imposed. I further recommend that Counts I

and III of the Indictment be dismissed. I further recommend the agreed forfeiture

be imposed against Defendant.

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     This report is forwarded with the recommendation that the Court defer

a decision regarding acceptance until the Court has reviewed the Plea

Agreement and the presentence report.

     DATED this 6th day of April, 2016.




                                         iah C. Lynch
                                      1ted States Magistrate Judge




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